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CLERK, U.S. DISTRICT COURT

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CENTRAL DISTRICT OF CALIFORNIA
BY DEPUTY |

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

UNITED STATES OF AMERICA, Case No. 2° 24-CR—- Ye)

)
)
Plaintiff, ) ORDER OF PRETRIAL DETENTION
) AFTER HEARING
Vv. ) (18 U.S.C. § 3142(1))
)
Jose Jaime Garcia,
Defendant. )
)
he
A. (V) Upon motion of the Government in a case that involves:
1. ( ) a crime of violence or an offense listed in

18 U.S.C. § 2332b(g) (5) (B), for which a
maximum term of imprisonment of ten (10)
years or more is prescribed; or

De (A an offense for which the maximum sentence is
life imprisonment or death; or

3. ({ ) an offense for which a maximum term of
imprisonment of ten (10) years or more is
prescribed in the Controlled Substances Act,
Controlled Substances Import and Export Act

or Maritime Drug Law Enforcement Act; or

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C.

4. ( ) any felony if defendant has been convicted of
two or more offenses described in
subparagraphs 1-3 above, or two or more state
or local offenses that would have been
offenses described in subparagraphs 1-3 above
if a circumstance giving rise to federal
jurisdiction had existed, or a combination of
such offenses.

5. ( ) any felony that is not otherwise a crime of
violence that involves a minor victim, or
possession or use of a firearm or destructive
device or any other dangerous weapon, or a
failure to register under 18 U.S.C. § 2250.

Upon motion ( °) of by the Government ( ) of the Court sua

sponte, in a case that involves:

1. VY a serious risk that defendant will flee;
2. ( ) a serious risk that defendant will
a. ( ) obstruct or attempt to obstruct justice;
or
b. ( ) threaten, injure, or intimidate a

prospective witness or juror or attempt
to do so.

The Government ( ) is #8 not entitled to a rebuttable

presumption that no condition or combination of conditions will

reasonably assure defendant’s appearance as required and the safety of

any person or the community.

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The Court finds by a preponderance of the evidence
that no condition or combination of conditions
will reasonably assure the appearance of defendant
as required;
The Court finds by clear and convincing evidence
that no condition or combination of conditions
will reasonably assure the safety of any other

person and the community.

TIt.
considered:
nature and circumstances of the offense(s) charged;
weight of the evidence against defendant;
history and characteristics of defendant;

nature and seriousness of the danger to any person

or the community that would be posed by defendant’s

release;

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Pretrial Services Report/Recommendation;
evidence proffered/presented at the hearing;

arguments of counsel.

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IV.
The Court concludes:

A. ( WH vefendant poses a risk to the safety of other persons
and the community based on: (www Paley;

bent Fp aly

B. ( Uf Defendant poses a serious flight risk based on:

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Cc. ( ) A serious risk exists that defendant will:
1. ( ) obstruct or attempt to obstruct justice;
2) { ) threaten, injure or intimidate a prospective

witness or juror or attempt to do so;

based on:

D. ( ) Defendant has not rebutted by sufficient evidence to
the contrary the presumption provided in 18 U.S.C.
§ 3142(e) that no condition or combination of
conditions will reasonably assure the safety of any
other person and the community;

and/or

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1 { ) Defendant has not rebutted by sufficient evidence to

2 the contrary the presumption provided in 18 U.S.C.

3 § 3142(e) that no condition or combination of

4 conditions will reasonably assure the appearance of

5 defendant as required.

6 IT IS ORDERED that defendant be detained prior to trial.

7 IT IS FURTHER ORDERED that defendant be committed to the custody

8] of the Attorney General for confinement to a corrections facility

9] separate, to the extent practicable, from persons awaiting or serving

10]| sentences or persons held in custody pending appeal.
11 IT IS FURTHER ORDERED that defendant be afforded reasonable
12] opportunity for private consultation with defendant’s counsel.

13 IT IS FURTHER ORDERED that, on Order of a Court of the United

14] States or on request of an attorney for the Government, the person in

15] charge of the corrections facility in which defendant is confined
16] deliver defendant to a United States Marshal for the purpose of an

17] appearance in connection with a court proceeding.

18 DATED: 8/P/feort

CG _—

ORABLE JACQUELWATE CHOOLJIAN
nited States Magistrate Judge

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